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 8

 9                                    UNITED STATES DISTRICT COURT
10
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12                                            FRESNO DIVISION
13

14

15   HOOPA VALLEY TRIBE,                                     Case No. 1:20-cv-01814-JLT-EPG
16                       Plaintiff,                          WESTLANDS WATER DISTRICT’S
                                                             NOTICE OF MOTION AND MOTION
17           v.                                              TO INTERVENE AS DEFENDANT;
                                                             MEMORANDUM OF POINTS AND
18   UNITED STATES BUREAU OF                                 AUTHORITIES IN SUPPORT
     RECLAMATION; DAVID BERNHARDT, in                        THEREOF
19   his official capacity as Secretary of the Interior;
     BRENDA BURMAN, in her official capacity                 Hearing Date:   December 23, 20221
20   as Commissioner of the United States Bureau             Time:           9:00 a.m.
     of Reclamation; ERNEST CONANT, in his                   Courtroom:      4 – 7th Floor, Fresno
21   official capacity as U.S. Bureau of Reclamation         Judge:          Hon. Jennifer L. Thurston
     California-Great Basin Regional Director; and
22   UNITED STATES DEPARTMENT OF THE                         Trial Date:     None
     INTERIOR,                                               Action Filed:   August 13, 2020
23
                         Defendants.
24

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     1
       Westlands Water District recognizes that due to the ongoing lack of judicial resources, the Court
27   is routinely taking motions under submission without oral argument. Westlands believes no oral
     argument is necessary for the Court’s decision on this motion.
28
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 1                      NOTICE OF MOTION AND MOTION TO INTERVENE

 2   TO THE COURT AND ALL PARTIES HEREIN:

 3           PLEASE TAKE NOTICE THAT on December 23, 2022 at 9:00 a.m. in Courtroom 4,

 4   before Judge Jennifer L. Thurston, Westlands Water District (“Westlands” or “Intervenor”) will,

 5   and hereby does, re-notice its motion for an order allowing it to intervene as of right or, in the

 6   alternative, permissively, as a defendant in the above-entitled action.2

 7           Westlands moved to intervene almost two years ago. Westlands now respectfully requests

 8   that its right to intervene be recognized without delay so that it can protect its legal interests in

 9   contracts that Plaintiff has expressly attacked in this lawsuit. Westlands is already a defendant in
10   two cases related to this action, where the plaintiffs, like Plaintiff here, seek to invalidate

11   contracts between the United States Bureau of Reclamation (“Reclamation”) and Central Valley

12   Project (“CVP”) water contractors, including Westlands. North Coast River Alliance, et al. v.

13   Bernhardt, et al., E.D. Cal., No. 1:16-cv-00307-JLT-EPG (“NCRA”); Center for Biological

14   Diversity, et al. v. Bernhardt, et al., E.D. Cal., No. 1:20-cv-00706- JLT-EPG (“CBD”). The

15   Court has already ruled in both of those cases that Westlands and other CVP water contractors

16   whose contracts those plaintiffs seek to invalidate are necessary parties. See NCRA, Order

17   Granting Motion to Compel Joinder of Absent Contractors, ECF No. 151, at 7-16; CBD, Order

18   Granting Motion to Compel Joinder of Absent Contractors, ECF No. 23, at 3-12. For the same

19   reasons the Court ordered joinder of CVP water contractors in those cases, Westlands should be
20   granted intervention here.

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     2
22     Westlands first moved to intervene in this action on December 14, 2020, when the case was still
     assigned to the Northern District of California. ECF No. 31. That intervention motion was not
23   ruled upon before the case was transferred to this district. ECF No. 50. Westlands re-noticed its
     motion to intervene after the case was transferred. ECF No. 50. The existing parties did not
24
     oppose Westlands’ intervention motion, ECF Nos. 56 and 57, but it was not ruled upon by the
25   Court due to the ensuing 16-month stay of this action. After the stay was lifted, Westlands re-
     noticed its motion to intervene on August 24, 2022. ECF No. 92. Pursuant to the Court’s
26   September 6, 2022 Order, the re-noticed motion was stayed pending resolution of Plaintiff’s
     intention to file an amended complaint. ECF No 96. On October 31, 2022, Plaintiff filed its
27   amended complaint. ECF No. 97. Accordingly, Westlands is re-noticing its motion to intervene,
     which has been updated to address new allegations in Plaintiff’s amended complaint.
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                                                                          CASE NO. 1:20-CV-01814-JLT-EPG
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 1           Westlands’ motion to intervene as of right is made pursuant to Federal Rule of Civil

 2   Procedure 24(a)3 upon the ground that Westlands, as a party to water contracts that Plaintiff seeks

 3   to invalidate in this action, claims an interest relating to the property or transaction that is the

 4   subject matter of this action, and is so situated that disposing of the action may as a practical

 5   matter impair or impede its ability to protect its interest, which is not adequately represented by

 6   existing parties. Alternatively, this motion is made pursuant to Rule 24(b) upon the ground that

 7   Westlands has a claim or defense that shares with the main action a common question of law or

 8   fact.

 9           This motion is based on this notice and motion, the accompanying memorandum, any
10   subsequently filed supplemental memorandum and accompanying papers, and the pleadings,

11   records and files in this action and such other matters as the Court may consider.

12           The undersigned counsel certifies that she has made efforts to meet and confer with

13   counsel for the existing parties to discuss the substance of this motion and any potential

14   resolution. Counsel for Defendants indicated they will not oppose this motion. Counsel for

15   Plaintiff indicated it will oppose the motion.

16                                                Respectfully submitted,

17
     Dated: November 18, 2022                     CYNTHIA J. LARSEN
18                                                JUSTIN GIOVANNETTONE
                                                  MARK C. SMITH
19                                                ORRICK, HERRINGTON & SUTCLIFFE LLP
20
                                                  By:             /s/ Cynthia J. Larsen
21                                                               CYNTHIA J. LARSEN
                                                          Attorneys for Westlands Water District
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       All further Rule references are to the Federal Rules of Civil Procedure, unless otherwise
     indicated.
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 1   I.     INTRODUCTION

 2          Westlands is entitled under Rule 24(a) of the Federal Rules of Civil Procedure to

 3   intervene as of right in this lawsuit because this suit seeks to invalidate repayment contracts

 4   between the United States and Westlands, which were negotiated by Westlands and Reclamation

 5   pursuant to the Water Infrastructure Improvements for the Nation (“WIIN”) Act, Pub. L. No. 114-

 6   322, 130 Stat. 1628 (2016) (“Repayment Contracts”).4 There can be no question that the

 7   resolution of Plaintiff’s claims without Westlands’ full participation as a party would “impair or

 8   impede [Westlands’] ability to protect its interests” in those contracts and that the existing

 9   defendants cannot adequately protect Westlands’ contractual interests. See FED. R. CIV. P. 24

10   (a)(2). As a result of this, Westlands and other CVP contractors have been held to be necessary

11   parties in two related Eastern District of California lawsuits that challenge the same contracts on

12   grounds nearly identical to those raised in this action. NCRA, ECF No. 151, at 7-16; CBD, ECF

13   No. 23, at 3-12. For purposes of the intervention analysis, these related cases are

14   indistinguishable from the present action and directly support Westlands’ intervention here.

15          Specifically, in its First Amended and Supplemental Complaint (“FASC”), Plaintiff seeks

16   both declaratory and injunctive relief against defendants Reclamation, Secretary of the Interior

17   Debra Haaland, Reclamation Commissioner Maria Touton, Reclamation’s California-Great Basin

18   Regional Director Ernest Conant, and the United States Department of the Interior (collectively,

19   “Federal Defendants”). The FASC’s Second Claim for Relief, which remains essentially

20   unchanged from the original complaint, alleges violations of the National Environmental Policy

21   Act (“NEPA”), 42 U.S.C. § 4321 et seq., and the Administrative Procedure Act (“APA”), 5

22   U.S.C. § 501 et seq. This claim is virtually identical to the NEPA and APA claims filed by

23   plaintiffs in the related NCRA and CBD cases. See Notice of Related Case, ECF No. 10. As in

24   the NCRA and CBD cases, Plaintiff seeks, through this Claim and others, an order to “[v]acate, set

25   aside, rescind, and nullify” the repayment contracts, including Westlands’ Repayment Contracts.

26   4
      In addition to the contract between Reclamation and Westlands identified in Plaintiff’s amended
     complaint (14-06-200-495A-IR1-P), Westlands is a party to another repayment contract with
27   Reclamation involving a partial assignment of water rights to Westlands from Oro Loma Water
     District (14-06-200-7823J-LTR1-P).
28
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 1   FASC, at 58 (Prayer for Relief), ¶ D. Thus, even prior to Plaintiff’s FASC, which added eight

 2   new claims, Westlands had a substantial interest in the outcome of this action that it cannot

 3   protect without being made a party.

 4          Westlands has waited two years for a ruling on its motion and its interest in this action is

 5   only heightened by the newly filed FASC. Plaintiff’s new Sixth Claim for Relief expressly

 6   targets a specific Westlands contract, No. 14-06-200-495A- IR1-P, and seeks to have it declared

 7   “void and unenforceable.” Id., ¶ 137; see also id. at 58 (Prayer for Relief), ¶ E. Additionally,

 8   several of Plaintiff’s other new claims seek to force Reclamation to levy additional costs on

 9   Westlands and other CVP contractors of “at least $350,872,120.00.” See FASC, Third and Fourth
10   Claims for Relief. Westlands has a clear interest in the adjudication of these and Plaintiff’s other

11   new claims added to the FASC. See, e.g., Seventh Claim for Relief, ¶ 173 (seeking “a declaration

12   that the Westlands’ contract is not binding on the United States.”).

13          As a contracting party with Reclamation under contracts Plaintiff seeks to “[v]acate, set

14   aside, rescind, and nullify,” Westlands “claim[s] an interest relating to the property or transaction

15   that is the subject of the action” under Rule 24. The disposition of the action in Westlands’

16   absence would substantially impair Westlands’ ability to protect its interests and these interests

17   cannot be fully represented by Federal Defendants. See FED. R. CIV. P. 24(a)(2). Thus,

18   Westlands satisfies all requirements for intervention as of right. Alternatively, the Court should

19   exercise its discretion to allow permissive intervention of Westlands pursuant to Rule 24(b).
20   II.    BACKGROUND
21          Enacted in December 2016, the WIIN Act addressed a number of water infrastructure

22   issues across the country. Most pertinent to this case, section 4011 of the WIIN Act directed that,

23   upon the request of any water service contractor, “the Secretary of the Interior shall convert” the

24   contractor’s water service contract to a repayment contract.5 Congress made clear that all CVP

25
     5
       Congress directed Reclamation to include in each repayment contract a provision that requires
26
     the CVP water contractors to prepay construction costs that otherwise would have been repaid to
27   Reclamation over an extended period of time. See WIIN Act, § 4011(a). Upon repayment of a
     contractor’s obligation for construction costs of the CVP, subsections (a) and (b) of section 213 of
28   the Reclamation Reform Act of 1982 (96 Stat. 1269) becomes applicable to lands within the
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 1   water service contracts so converted shall “continue so long as the contractor pays applicable

 2   charges, consistent with section 9(d) [and section 9(c)(1)] of the Act of August 4, 1939 (53 Stat.

 3   1195), and applicable law.” WIIN Act, §§ 4011(a)(2)(D), 4011(a)(3)(C).

 4          In February 2020, Reclamation and Westlands executed its principal Repayment Contract,

 5   with an effective date of June 1, 2020,6 which converted Westlands’ interim renewal contract into

 6   a Repayment Contract pursuant to the WIIN Act. See Bureau of Reclamation Website,

 7   “Conversion Contracts,” available at https://www.usbr.gov/mp/wiin-act/negotiated-conversion-

 8   contracts.html (last visited November 8, 2022). While Reclamation continued its effort to convert

 9   other water service contracts, Plaintiff filed this lawsuit seeking to enjoin Reclamation’s effort to
10   enter into further repayment contracts and to rescind the repayment contracts previously entered.

11   See Compl., ECF No. 1, ¶ 2.

12          Following Plaintiff’s institution of this lawsuit in August 2020, Federal Defendants filed a

13   Motion to Transfer the action from the Northern District to the Eastern District, ECF No. 14, and

14   a Motion to Dismiss, ECF No. 19. Federal Defendants’ Motion to Dismiss argued, in part, that

15   Plaintiff failed to join CVP water contractors, who are necessary parties in this action. Id., at 16-

16   18. Westlands moved to intervene in the action on December 14, 2020. Before Westlands’

17   intervention motion was ruled upon, the Northern District Court granted Federal Defendants’

18   Motion to Transfer, ECF No. 32, and the action was reassigned to this Court pursuant to an Order

19   of Related Cases on December 30, 2020, ECF No. 37. Federal Defendant’s Motion to Dismiss
20   was never ruled upon. After it became clear that Plaintiff intended to amend its complaint, the

21   parties agreed to propose a separate briefing schedule for a motion to dismiss the amended

22   complaint. ECF No. 90, at 4.

23

24   contractor’s service area, which in turn provides relief from the acreage and full cost limitations
     of federal reclamation law. See WIIN Act, § 4011(c)(1), Reclamation Reform Act of 1982, §
25   213.
     6
26    The Oro Loma Contract (14-06-200-7823J-LTR1-P) was executed in September 2020, with and
     effective date of October 1, 2020. See Bureau of Reclamation Website, “Conversion Contracts,”
27   Contract No. 14-06-200-7823J-LTR1-P, available at https://www.usbr.gov/mp/wiin-
     act/negotiated-conversion-contracts.html (last visited November 8, 2022).
28
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 1           On March 4, 2021, the Court issued a Minute Order directing, in part, that Westlands re-

 2    notice its Motion to Intervene (ECF No. 46), which it did on March 17, 2021 (ECF No. 50). The

 3    motion was unopposed. ECF Nos. 56 and 57. On March 12, 2021, Federal Defendants moved to

 4    stay this case to give the new administration time to determine whether to re-notice the pending

 5    motion to dismiss. ECF No. 47. The Court granted the motion, which Plaintiff did not oppose,

 6    staying the case on March 15, 2021. ECF No. 48. On February 2, 2022, the Court terminated

 7    Westlands’ pending motion to intervene in light of the ongoing stay and stated that Westlands

 8    “may re-notice the motion if the stay is lifted.” ECF No. 79. The Court granted four additional

 9    requests by the parties to continue the stay to allow the parties to engage in settlement
10    discussions, ECF Nos. 73, 77, 81, 86, but the parties were unable to reach agreement. ECF No.

11    87. The Court lifted the stay on July 26, 2022. ECF No. 89.

12           On August 24, 2022, Westlands re-noticed its motion to intervene. ECF No. 92. On

13    September 6, 2022, the Court stayed briefing on Westlands’ re-noticed motion, stating in

14    pertinent part: “If Plaintiff is granted leave to file an amended complaint, Westlands has 28 days

15    from the order granting leave to file an amended complaint to file or re-notice its motion to

16    intervene.” ECF No 96 at 2. Plaintiff did not request leave to amend its complaint, but on

17    October 31, 2022, filed the FASC and represented that it had obtained written consent from

18    Federal Defendants to amend its complaint pursuant to Rule 15(a)(2).7 ECF No. 97, at 1. This

19    motion followed.
20    III.   ARGUMENT
21           Rule 24, which governs intervention, “traditionally has received a liberal construction in

22    favor of applications for intervention.” Waller v. Financial Corp. of America, 828 F.2d 579, 582

23    (9th Cir. 1987) (citations omitted); Fed. Sav. and Loans Ins. Corp. v. Falls Chase Special Taxing

24    Dist., 983 F.2d 211, 216 (11th Cir. 1993); Tweedle v. State Farm Fire & Cas. Co., 527 F.3d 664,

25    671 (8th Cir. 2008) (“Rule 24 should be liberally construed with all doubts resolved in favor of

26

27    7
       Rule 15(a)(2) states that “a party may amend its pleading only with the opposing party’s written
      consent or the court’s leave. The court should freely give leave when justice so requires.”
28
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 1    the proposed intervenor.”) (citation omitted). Rule 24(a) sets forth the requirements for

 2    intervention as of right:

 3           On timely motion, the court must permit anyone to intervene who … claims an
             interest relating to the property or transaction that is the subject of the action, and is
 4
             so situated that disposing of the action may as a practical matter impair or impede
 5           the movant’s ability to protect its interest, unless existing parties adequately
             represent that interest.
 6

 7    FED. R. CIV. P. 24(a)(2) (emphasis added). Further, Rule 24(b) permits permissive intervention

 8    on timely notice to anyone with “a claim or defense that shares with the main action a common

 9    question of law or fact.” FED. R. CIV. P. 24(b)(1)(B). As explained below, Westlands satisfies

10    the requirements of both Rule 24(a)(2) and Rule 24(b)(1)(B).

11           A.      Westlands Is Entitled To Intervene As A Matter Of Right Under Rule
                     24(A)(2)
12

13           Generally, motions to intervene as a matter of right pursuant to Rule 24(a)(2) are reviewed

14    under the following four-part test:

15           1) the motion must be timely;
             2) the applicant must claim a “significantly protectable” interest relating to the property or
16              transaction which is the subject of the action;
             3) the applicant must be so situated that the disposition of the action may as a practical
17              matter impair or impede its ability to protect that interest; and
             4) the applicant’s interest may be inadequately represented by the parties to the action.
18

19    Wilderness Society v. United States Forest Service, 630 F.3d 1173, 1177 (9th Cir. 2011);

20    Northwest Forest Res. Council v. Glickman, 82 F.3d 825, 836 (9th Cir. 1996). As explained

21    below, Westlands clearly satisfies each element of the test.

22                   1.      Westlands’ Motion To Intervene Is Timely

23           Westlands’ motion to intervene is timely given the relatively early stage of this

24    proceeding, the over-16 month stay of this case that delayed a ruling on Westlands’ prior

25    intervention motion, and the complete lack of prejudice to other parties from Westlands’

26    proposed intervention. “Timeliness is a flexible concept; its determination is left to the district

27    court’s discretion.” United States v. Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004). In

28    determining whether a motion to intervene is timely, courts weigh three factors: (1) the stage of
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 1    the proceeding at which an applicant seeks to intervene; (2) the prejudice to other parties; and

 2    (3) the reason for and length of the delay. Id.

 3            As noted, this case was filed on August 13, 2020, but was transferred from the Northern

 4    District to this district and then was stayed for over 16 months. Since the case was filed,

 5    Westlands has filed two motions to intervene, including its initial motion in the Northern District

 6    in December 2020 (ECF No. 31) and its second motion in this Court in March 2021 (ECF No.

 7    50). Westlands filed a renewed notice of that motion in August 2022 (ECF No. 92). Thus,

 8    Westlands has diligently pursued intervention in this case and the extended period during which

 9    Westlands has remained a non-party is not based on any delay by Westlands. Further, no
10    responsive pleadings have yet been filed. Therefore, Plaintiff can make no viable claim of

11    prejudice based on the proposed intervention. See, e.g., Nikon Corp. v. ASM Lithography, 222

12    F.R.D. 647, 649 (N.D. Cal. 2004) (“The fact that Zeiss’s intervention will cause very little (if any)

13    prejudice to Nikon only supports a finding of timeliness”). Based on these factors, the motion to

14    intervene is timely.

15                    2.      Westlands Has A “Significant Protectable” Interest Relating To The
                              Property Or Transaction Which Is The Subject Of The Action
16

17            The focus of a Rule 24 inquiry is whether the intervenor has a “‘protectable interest’ in the

18    outcome of the litigation of sufficient magnitude to warrant inclusion in the action.” Smith v.

19    Pangilinan, 651 F.2d 1320, 1324 (9th Cir. 1981). “An applicant has a ‘significant protectable
20    interest’ in an action if (1) it asserts an interest that is protected under some law, and (2) there is a

21    ‘relationship’ between its legally protected interest and the plaintiff’s claims.” Donnelly v.

22    Glickman, 159 F.3d 405, 409 (9th Cir. 1998). These requirements are clearly met by Westlands

23    here.

24            The Ninth Circuit has held that intervention as of right under Rule 24(a) is available to

25    both private parties and government entities in NEPA suits against a federal agency, reversing

26    prior limitations on such intervention. In Wilderness Society v. United States Forest Service, 630

27    F.3d 1173 (9th Cir. 2011), the Ninth Circuit reversed the district court’s denial of an application

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 1    by groups representing motorized vehicle users to intervene in a NEPA suit challenging the

 2    Forest Service’s adoption of a plan designating roads for motorized vehicle use. Noting that it

 3    “construe[s] the Rule ‘broadly in favor of proposed intervenors,’” the Ninth Circuit remanded the

 4    case for reconsideration in light of its ruling that intervention is available in NEPA suits. Id. at

 5    1179 (quoting United States v. City of Los Angeles, 288 F.3d 391, 397 (9th Cir. 2002)). The

 6    Ninth Circuit recognized “the very real possibility that private parties seeking to intervene in

 7    NEPA cases may, in certain circumstances, demonstrate an interest ‘protectable under some law,’

 8    and a relationship between that interest and the claims at issue.” Wilderness Society, 630 F.3d at

 9    1179.
10            In defining what constitutes a “protectable interest,” the Ninth Circuit has held that

11    “contract rights are traditionally protectable interests” sufficient to support intervention of right.

12    Southwest Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir. 2001) (“Southwest”).

13    In Southwest, an Endangered Species Act suit challenged the process by which federal agencies

14    entered into a contract with the City of San Diego, claiming that the federal agencies failed to

15    comply with statutory-mandated procedures prior to entering into a contract with a municipality.

16    Id. at 816. The court held that even private developers’ status as third-party beneficiaries of the

17    contract was a protectable right and allowed the developers to intervene. Id. at 822; see also

18    Kleissler v. United States Forest Service, 157 F.3d 964, 972 (3rd Cir. 1998) (allowing

19    intervention of right by the contracting timber companies because the companies’ contract rights
20    gave them “direct and substantial interests in a lawsuit aimed at halting logging.”).

21            Here, Westlands has a “significant protectable interest” in the Repayment Contracts,

22    which are expressly at issue in this case. See FASC, ¶ 3 (“Hoopa further seeks an order and

23    judgment setting aside, declaring invalid, and rescinding Reclamation’s conversions of time-

24    limited [CVP] renewal contracts into permanent repayment contracts with water contractors

25    (including but not limited to Westlands Water District Contract No. 14-06-200-495A-IR1-P).”)).

26    Under the challenged Repayment Contracts, Reclamation is obligated to make available to

27    Westlands up to nearly 1,200,000 acre-feet of CVP water annually. Id., ¶ 88 (noting that Contract

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 1    No. 14-06-200-495A-IRI-P entitles Westlands to 1,150,000 acre-feet per year); see also id., Ex.

 2    12, CBD Statement of Undisputed Facts (listing CVP contractors’ entitlements to water under

 3    various repayment contracts). Further, as this Court found under its related Rule 19 analysis in

 4    the CBD and NCRA cases,

 5             the WIIN Act [repayment contracts] are “repayment” contracts that, unlike “water
               service” contracts, allow contractors to prepay the repayment obligation imposed
 6             by Reclamation law, which in turn can reduce annual payments to Reclamation;
               these contracts also provide significant opportunities for relief from certain other
 7             requirements of Reclamation law, including acreage limitations. 2021 WL 600952
 8             [CBD, Order Granting Motion to Compel Joinder] at *6 (citing WIIN Act, Pub. L.
               No. 114-322 § 4011(a), (c)(1), 130 Stat. at 1878–80). These bargained-for terms
 9             are no less “fundamental” than the lease terms designed to ensure employment
               opportunities and income for Navajo Nation members at issue in Dawavendewa [v.
10             Salt River Project Agr. Imp. & Power Dist., 276 F.3d 1150 (9th Cir. 2002)].
11    NCRA, Order Granting Motion to Compel Joinder, ECF No. 151, at 11. The significant

12    protectable interest is reinforced by the new claims Plaintiff makes in the FASC. Through those

13    new claims, Plaintiff seeks to force Reclamation to levy additional costs on Westlands and other

14    CVP contractors of “at least $350,872,120.00.” See FASC, Third and Fourth Claims for Relief.

15    Westlands has a clear interest in the adjudication of these and Plaintiff’s other new claims added

16    to the FASC. See, e.g., Seventh Claim for Relief, ¶ 173 (seeking “a declaration that the

17    Westlands’ contract is not binding on the United States.”).

18             The Court’s conclusion in NCRA that Westlands and other CVP contractors have a

19    “legally protected interest” is particularly apt here because, like Plaintiff in this case, the NCRA
20    plaintiffs are challenging the very same contracts not only under the CVPIA, NEPA, and the

21    APA, but also on grounds that the contracts have not been validated by a state court. The Court

22    expressly rejected the NCRA plaintiffs’ argument that CVP contractors whose contracts were not

23    validated lacked a “legally protected interest” because the repayment contracts are allegedly not

24    binding on Reclamation. Id. at 11-13 (“The holding in Concerned Irrigators [v. Belle Fourche

25    Irrigation District, 235 F.3d 1139 (8th Cir. 2001)] therefore supports a finding that the WIIN Act

26    [repayment contracts] can create legal rights even in the absence of judicial confirmation.”)8

27
      8
          The same argument was made, and rejected, in the CBD case. CBD ECF No. 23, at 8-10.
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 1            Thus, Westlands’ rights, directly threatened by Plaintiff’s effort to “[v]acate, set aside,

 2    rescind, and nullify” the Repayment Contracts, constitute “significant protectable” interests under

 3    Ninth Circuit precedent.

 4                    3.      Westlands’ Interests May Be Impaired Or Impeded If Intervention Is
                              Not Permitted
 5

 6            Westlands must be a party to this case in order to protect its interests because Plaintiff has

 7    asked the Court to rescind, nullify, and declare void Westlands’ Repayment Contracts (among

 8    others), enjoin Federal Defendants from taking any action pursuant to the contracts, and allocate

 9    millions of dollars in costs to Westlands and other CVP contractors. FASC, at 58-59 (Prayer for
10    Relief). If the Court grants Plaintiff any of its requested relief, Westlands could lose the

11    significant benefits conferred to it under Repayment Contracts and suffer financial costs. If it is

12    not a party to this suit, Westlands’ ability to protect its interests, at the trial or appellate level, may

13    well be foreclosed, as both a practical and legal matter.

14            The potential impairment of Westlands’ interest was expressly recognized in CBD and

15    NCRA in this Court analysis of the similarly worded standard for impaired or impeded interests

16    under Rule 19.9 Citing the unique benefits made available to CVP contractors under the

17    Repayment Contracts, the Court in CBD explained that “the benefit of those bargained-for terms

18    unique to a repayment contract could be ‘grievously impaired’ if, as a result of this case, the court

19    were to ‘set aside’ those repayment contracts.” CBD, ECF No. 23 at 10 (citing Dawavendewa,
20    276 F.3d at 1157); see also NCRA, ECF No. 151 at 14 (same). Since Plaintiff, like the plaintiffs

21    in CBD and NCRA, also seeks to “set aside” (and vacate, rescind, nullify, and declare void) the

22    Repayment Contracts, the same logic applies to support Westlands’ intervention here.

23            Indeed, the Court in CBD and NCRA recognized the long line of Ninth Circuit cases that

24    9
        Compare Rule 19(a)(1) (requiring joinder of a person if “(B) that person claims an interest
25    relating to the subject of the action and is so situated that disposing of the action in the person’s
      absence may: (i) as a practical matter impair or impede the person’s ability to protect the interest .
26    . . .”) with Rule 24(a) (requiring intervention of right to a person who “(2) claims an interest
      relating to the property or transaction that is the subject of the action, and is so situated that
27    disposing of the action may as a practical matter impair or impede the movant's ability to protect
      its interest. . . .”).
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 1    “stand for the general principle that ‘a party to a contract is necessary, and if not susceptible to

 2    joinder, indispensable to litigation seeking to decimate that contract’” CBD, ECF No. 23 at 5

 3    (quoting Dawavendewa, 276 F.3d at 1157); NCRA, ECF No. 151 at 9 (quoting the same from

 4    CBD, ECF No. 23). Further, Natural Resources Defense Council v. Kempthorne, 539 F. Supp. 2d

 5    1155, 1183 (E.D. Cal. 2008) (“Kempthorne”), also cited by the Court in CBD and NCRA,

 6    reaffirmed this principle by holding that absent water contractors were necessary parties to a

 7    lawsuit challenging administrative compliance by Reclamation with the Endangered Species Act

 8    prior to entering into water supply contracts. Kempthorne noted that “it is well-settled that in an

 9    action to set aside a contract, all parties to the contract must be present.” Kempthorne, 539 F.
10    Supp. 2d at 1185.

11           Not surprisingly, Ninth Circuit law regarding impaired or impeded interests in the context

12    of Rule 24 intervention is consistent with that of Rule 19 joinder. For instance, in Southwest, the

13    court held that “for the projects […] in the pipeline for design and mitigation assurances and

14    approval pursuant to the IA [Implementation Agreement], an invalidation of the IA would both

15    legally and practically affect Applicants’ interests.” Southwest, 268 F.3d at 822 (observing that

16    the Ninth Circuit “follow[s] the guidance of Rule 24 advisory committee notes that state that ‘if

17    an absentee would be substantially affected in a practical sense by the determination made in an

18    action, he should, as a general rule, be entitled to intervene.’”) (internal citation omitted).

19    Likewise, in Sierra Club v. United States Environmental Protection Agency, 995 F.2d 1478 (9th
20    Cir. 1993), a suit seeking to modify the terms of a city’s water treatment permits, the Ninth

21    Circuit held that “the relief sought in Sierra Club’s lawsuit would necessarily ‘result in practical

22    impairment of the [City’s] interests.’” Id. at 1486 (quoting Yniguez v. Arizona, 939 F.2d 727, 735

23    (9th Cir. 1991)). In the same way that the suits in Southwest and Sierra Club threatened to impair

24    or impede the applicants’ interests in challenged contracts, so too does the FASC threaten to

25    impair Westlands’ interests by seeking to “[v]acate, set aside, rescind, and nullify” its Repayment

26    Contracts.

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 1           Thus, exclusion of Westlands from this action “may as a practical matter impair or

 2    impede” its ability its interest in the Repayment Contracts.

 3                   4.      Westlands’ Interests Are Not Adequately Represented In The Present
                             Lawsuit
 4

 5           Federal Defendants cannot adequately represent Westlands’ interests in the action. The

 6    Supreme Court has held that the inadequate representation requirement “is satisfied if the

 7    [proposed intervenor] shows that the representation of his interest ‘may be’ inadequate” and that

 8    “the burden of making that showing should be treated as minimal.” Trbovich v. United Mine

 9    Workers of America, 404 U.S. 528, 538 n.10 (1972) (emphasis added). As the Supreme Court
10    observed in Trbovich, federal agencies are invested with the obligation of protecting “vital public

11    interest[s],” in that case, free and democratic union elections. Id. at 539. In Trbovich, the issue

12    was whether a union member’s interest was adequately represented by the Secretary of Labor in a

13    suit by the Department of Labor challenging a union election. The Supreme Court cited the

14    obligation of the agency to also protect the wider public interest. As a result, the proposed private

15    party intervenor and the federal agency could not be assured of approaching the litigation in the

16    same way, because the federal agency’s interest “transcends the narrower interest of the

17    complaining union member.” Id. (citation omitted). The same is true here.

18           This Court easily concluded in CBD and NCRA that the potential impairment of the CVP

19    contractors’ interests in those actions could not be “adequately represented” by the existing
20    defendants in those suits. CBD, ECF No. 23, at 11; NCRA, ECF No. 151, at 14-15. As the Court

21    recognized, the Ninth Circuit uses the following three step inquiry to determine if a non-party is

22    adequately represented by existing parties:

23           A non-party is adequately represented by existing parties if: (1) the interests of the
             existing parties are such that they would undoubtedly make all of the non-party’s
24           arguments; (2) the existing parties are capable of and willing to make such
             arguments; and (3) the non-party would offer no necessary element to the
25           proceeding that existing parties would neglect.

26    Southwest Ctr. for Biological Diversity v. Babbitt, 150 F.3d 1152, 1153-54 (9th Cir. 1998) (citing

27    Shermoen v. United States, 982 F.2d 1312, 1318 (9th Cir. 1992)).

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 1            Consistent with Trbovich, the Ninth Circuit explained in Southwest that the current

 2    representation of parties should be determined to be inadequate under Rule 24 where the

 3    applicants’ interests and that of the existing defendants “may diverge,” and “because of the

 4    difference in interests, it is likely that Defendants will not advance the same arguments as

 5    Applicants.” Southwest, 268 F.3d at 824. Further describing how the federal government’s

 6    interests diverge from other interests, the Southwest court described how “the priorities of the

 7    defending government agencies are not simply to confirm the Applicants’ interests in the

 8    [contracts],” but are instead to represent all the interests of the general public – which may, at

 9    times, be adverse to those of the applicant. Id. at 823; see also Kempthorne, 539 F. Supp. 2d at
10    1187 (“[T]he Federal Defendants cannot adequately represent the interests of absent contractors

11    because they represent the government and a broad set of interests that are not the same as public

12    or private water contractors.”)

13            Just as the federal agencies in Trbovich, Southwest, and Kempthorne did not adequately

14    represent the interests of beneficiaries of federal contracts, and just as the Court found in CBD

15    NCRA under circumstances that are indistinguishable from this case, Federal Defendants here

16    cannot adequately represent Westlands’ interests. Whereas Westlands is devoted to a single goal,

17    i.e., preserving its contractual rights under Repayment Contracts so it can continue to provide

18    CVP water to its water users, Federal Defendants’ interests are multi-faceted. Moreover, the

19    Repayment Contracts that are the subject of Plaintiff’s claims were the product of arms-length
20    negotiations, and no one could reasonably assert that a party to a contract could be confident that

21    the other party to that contract will adequately protect the first party’s interest in an action like

22    this one, where a third party is challenging the lawfulness or enforceability of the contract. Given

23    the potential divergence of their interests, it cannot be said that Federal Defendants will

24    “undoubtedly” make all the arguments that Westlands would make and thus the Ninth Circuit’s

25    criteria for adequate representation by an existing party is not satisfied. At best, Federal

26    Defendants’ representation “may be” adequate to protect Westlands’ interest. According to

27    Supreme Court precedent, this is not enough. Trbovich, 404 U.S. at 538 n.10.

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 1           Accordingly, Westlands’ motion to intervene as of right should be granted.

 2           B.      In The Alternative, The Court Should Allow Permissive Intervention by
                     Westlands Under Rule 24(b)
 3

 4           In the alternative, the Court should exercise its discretion to allow Westlands to intervene

 5    pursuant to Rule 24(b)(1)(B). Permissive intervention is appropriate where the intervenor has a

 6    claim or defense that shares with the main action a common question of law or fact. See

 7    Northwest Forest Res. Council v. Glickman, 82 F.3d 825, 839 (9th Cir. 1996). Here, there can be

 8    no question that Westlands’ defense of its Repayment Contracts shares common questions of law

 9    and fact with Plaintiff’s claims to invalidate those same contracts. In addition, Westlands’
10    defense of its contracts shares common questions of law and fact with the Federal Defendants’

11    defense in this action.

12    IV.    CONCLUSION
13           For the foregoing reasons, Westlands respectfully requests that the Court grant its motion

14    to intervene as a defendant in this action.

15
      Dated: November 18, 2022                      CYNTHIA J. LARSEN
16                                                  JUSTIN GIOVANNETTONE
                                                    MARK C. SMITH
17                                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
18
                                                    By:              /s/ Cynthia J. Larsen
19                                                                 CYNTHIA J. LARSEN
                                                            Attorneys for Westlands Water District
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  1                                     CERTIFICATE OF SERVICE

  2              I hereby certify that on November 18, 2022, I electronically filed WESTLANDS WATER

  3     DISTRICT’S NOTICE OF MOTION AND MOTION TO INTERVENE AS DEFENDANT;

  4     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF with the Clerk

  5     of Court using the ECF system, which will automatically send email notification to the attorneys

  6     of record.

  7

  8                                                                /s/ Cynthia J. Larsen
                                                                   CYNTHIA J. LARSEN
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